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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR334
                              )
          v.                  )
                              )
JOSE ESTEBAN HERNANDEZ-       )                      ORDER
VILLALBA,                     )
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant Jose

Esteban Hernandez-Villalba’s motion in limine (Filing No. 92).

At a pre-trial hearing, the Court heard argument from the parties

regarding the motion.     The parties agreed no controversy exists

regarding paragraph one of the motion.          Thus, this part of the

motion will be denied as moot.

          Regarding paragraph two of the motion, defendant argues

this evidence is inadmissible for lack of relevance, Fed. R.

Evid. 401 and 402, or its probative value is outweighed by the

potential for unfair prejudice, Fed. R. Evid. 403.              The Court

finds the evidence discussed in paragraph two is relevant and its

probative value outweighs the danger of unfair prejudice.

Accordingly,
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          IT IS ORDERED that defendant’s motion in limine (Filing

No. 92) is denied as moot as to paragraph one of the motion and

is denied as to paragraph two of the motion.

          DATED this 19th day of January, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
